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Name and address:
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                     Email: mroth@kslaw.com

                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA
In Re Application Of Non-Resident Attorney To Appear In A
                                                                          CASE NUMBER
Specific Case Pro Hae Vice Of Andrew S. Han
                                                  Plaintiff(s),                         2:23-mc-00065
                  v.
                                                                            APPLICATION OF NON-RESIDENT ATTORNEY
n/a                                                                               TO APPEAR IN A SPECIFIC CASE
                                                      Defendant(s),                      PROHACVICE
INSTRUCTIONS FOR APPLICANTS
(1) The attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
    Section II, and have the designated Local Counsel sign in Section III. ELECTRONIC SIGNATURES ARE NOTACCEPTED. Space to
    supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued within the last 30
    days) from every state bar to which he or she is admitted; failure to do so will be grounds for denying the Application. Scan the
    completed Application with its original ink signature, together with any attachment(s), to a single Portable Document Format (PDF) file.
(2) Have the designated Local Counsel file the Application electronically using the Court's electronic filing system ("Motions and Related
    Filings=> Applications/Ex Parte Applications/Motions/Petitions/Requests=> Appear Pro Hae Vice (G-64)'J, attach a Proposed Order
    (using Form G-64 ORDER, available from the Court's website), and pay the required $500 fee online at the time offiling (using a credit
    card). The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time of filing will be
    grounds for denying the Application. Out-of-state federal government attorneys are not required to pay the $500 fee. (Certain
    attorneys for the United States are also exempt from the requirement of applying for pro hac vice status. See L.R. 83-2.1.4.) A copy of the
    G-64 ORDER in Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION
Han, Andrew S.
Applicant's Name (Last Name, First Name & Middle Initial)                                        check here iffederal government attorney □
Warner Bros. Discovery
Firm/Agency Name
8403 Colesville Road                                                  212-512-5636                           n/a
16th floor                                                            Telephone Number                        Fax Number
Street Address
Silver Spring, MD 20910                                                                 andrew.han@warnermedia.com
City, State, Zip Code                                                                              E-mail Address

I have been retained to represent the following parties:
Warner Bros. Discovery                                                D Plaintiff(s) D Defendant(s) [Kl Other: non-party witness
                                                                      D Plaintiff(s) D Defendant(s) D Other: ---------
Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

                  Name ofCourt                          Date ofAdmission           Active Member in Good Standing? (ifnot, please explain)
Massachusetts                                              12/23/2008             Yes
District of Columbia                                       10/05/2009             Inactive Member in Good Standing
U.S. Dist. Ct., D. Md.                                      5/24/2012             Yes

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 List all cases in which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section IV if
 needed):
         Case Number                                     Title ofAction                             Date o{Aeplication        Granted I Denied?




 If any pro hac vice applications submitted within the past three (3) years have been denied by the Court, please explain:
   n/a




Attorneys must be registered for the Court's electronic filing system to practice pro hac vice in this Court. Submission
of this Application will constitute your registration (or re-registration) to use that system. If the Court signs an Order
granting your Application, visit www.pacer.gov to complete the registration process and activate your e-fi/ing
privileges in the Central District of California.

           SECTION 11 -CERTIFICATIO

           I declare under penalty of perjury that:

           (1) All of the above information is true and correct.
           (2) I am not a resident of the State of California. I am not regularly employed in, or engaged in
               substantial business, professional, or other activities in the State of California.
           (3) I am not currently suspended from and have never been disbarred from practice in any court.
           (4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and
               Criminal Procedure, and the Federal Rules of Evidence.
           (5) I designate the attorney listed in Section III. below, who is a member in good standing of the Bar
               of this Court and maintains an office in the Central District of California for the practice of law, in
               which the attorney is physically present on a regular basis to conduct business, as local counsel
               pursuant to Local Rule 83-2.1.3.4.

               Dated




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